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                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

 IN RE:
 DEBRA JOAN O'ROURKE                                       Case No. 18-14964-elf
       Debtor
                                                           Chapter 13
 WELLS FARGO BANK, NATIONAL
 ASSOCIATION AS TRUSTEE FOR OPTION
 ONE MORTGAGE LOAN TRUST 2007-5,
 ASSET-BACKED CERTIFICATES, SERIES
 2007-5
        Movant

 vs.
 DEBRA JOAN O'ROURKE
     Respondent                                            11 U.S.C. §362

                        NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

               Wells Fargo Bank, National Association as Trustee for Option One Mortgage Loan
Trust 2007-5, Asset-Backed Certificates, Series 2007-5 (hereinafter “Movant”) has filed a Motion for
Relief from the Automatic Stay with the Court to permit Movant to Foreclose on 2452-2454 S Lee St,
Philadelphia, PA 19148-4106.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult an attorney.)

        1.       If you do not want the Court to grant relief sought in the motion or if you want the
Court to consider your views on the motion, then on or before 04/19/2022 you or your attorney must
do all of the following:

               (a) file an answer explaining your position at:

                       Clerk's Office, U.S. Bankruptcy Court
                       Eastern District of Pennsylvania
                       Robert N.C. Nix, Sr. Federal Courthouse
                       900 Market Street, Suite 400
                       Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and

               (b) mail a copy to the Movant’s attorney:
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                       Brock and Scott, PLLC
                       8757 Red Oak Boulevard, Suite 150
                       Charlotte, NC 28217

       2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an Order granting the relief requested in the motion.

        3.       A hearing on the motion is scheduled to be held before the Honorable Eric L. Frank on
04/26/2022 at 9:30 am, in Courtroom #1, United States Bankruptcy Court, Robert N.C. Nix, Sr.
Federal Courthouse, 900 Market Street, Suite 201, Philadelphia, PA 19107. Unless the Court orders
otherwise, the hearing on this contested matter will be an evidentiary hearing at which witnesses may
testify with respect to disputed material factual issues in the manner directed by Fed. R. Bankr. P
9014(d).

       4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if
you request a copy from the attorneys named in paragraph 1(b).

        5.      You may contact the Bankruptcy Clerk’s office at (215) 408-2800 to find out whether
the hearing has been cancelled because no one filed an answer.


March 28, 2022
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